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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:

ANTHONY WAYNE STANSBERRY                             CASE NO.       8:14-bk-13668-KRM
JENNIFER LYNN STANSBERRY
                                                     CHAPTER        13
            Debtors.
____________________________________/

                           OBJECTION TO CONFIRMATION OF PLAN

           Creditor, Harley-Davidson Credit Corp, objects to Debtors' Plan and states:

           1.      Creditor holds a valid lien on the following vehicle:

                                         2004 357 CUSTOM
                                    VIN: 4B7H846934S000303 ("Vehicle")

            2.     Creditor filed Proof of Claim Number 4-1 reflecting a total secured claim of

$22,749.48.

            3.     The total pre-petition arrearage amount is approximately $22,749.48

            4.     Debtors' Plan should be amended to surrender the property or pay Creditor's claim

in full.

            5.     Creditor reserves the right to supplement this Objection, as necessary.

           WHEREFORE, Creditor respectfully requests the Court sustain its Objection and for such

other and further relief as the Court deems appropriate.




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                                 CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing was served by CM/ECF notice to the

parties below this 14th day of December, 2014.

                                             BUCKLEY MADOLE, P.C.

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